Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 1 of 10




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 12-CV-14373-DLG


    FEDERAL TRADE COMMISSION,

              Plaintiff,

         v.

    A+ FINANCIAL CENTER, LLC, a Florida
    limited liability company, also doing business as
    ACCELERATED FINANCIAL CENTERS,
    LLC,

    ACCELERATED ACCOUNTING SERVICES
    LLC, a Florida limited liability company,

    CHRISTOPHER L. MIANO, individually and
    as the managing member of Accelerated
    Accounting Services LLC, and

    DANA M. MIANO, individually and as the
    managing member of A+ Financial Center, LLC,

              Defendants.


     RECEIVER’S UNCONTESTED MOTION TO AUTHORIZE FINAL PAYMENT OF
                     PROFESSIONAL FEES AND COSTS
               TO RECEIVER’S ACCOUNTANTS AND ATTORNEYS

          Frank Scruggs, the Receiver appointed pursuant to the Temporary Restraining Order

   [ECF #10], the Preliminary Injunction [ECF #23], and Stipulated Final Judgment [ECF #205],

   moves for entry of an Order authorizing payment of (i) accounting fees and costs incurred by his

   forensic accountants, Berkowitz, Pollack Brant Advisors and Accountants LLP (“BPB”) and (ii)




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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 2 of 10




   legal fees and costs incurred by his attorneys, Berger Singerman, LLP (“Berger Singerman”),

   and states:

                  The Receiver Substantiated Attorneys’ Fees and Accounting Fees
                     Through Two Prior Applications and Supporting Exhibits

          The Temporary Restraining Order (“TRO”) [ECF #10] and the Preliminary Injunction

   Order [ECF #23] authorized the Receiver to engage outside professionals including legal

   counsel, accountants, investigators, and consultants. The Receiver engaged legal counsel and

   forensic accountants.

          On November 30, 2012, the Receiver moved for entry of an Order authorizing payment

   of fees and costs for forensic accountants and legal counsel, through his First Application for

   Attorney’s Fees and Forensic Accountant Fees [ECF #48] (“First Application”). The amounts

   sought were substantiated by supporting materials filed under seal on December 3, 2012 and

   were consented to by the Federal Trade Commission (“FTC”) and Defendants.

          The Court entered an Order Granting in Part First Application for Attorney’s Fees and

   Forensic Accountant Fees [ECF #66], so that of the $129,094.06 in fees and costs sought for

   Berger Singerman, and the $27,167.00 sought for BPB in the First Application, the Court

   awarded combined $100,000.00. Of the $100,000.00 awarded, the Receiver paid $17,603.24 to

   BPB and $82,396.76 to Berger Singerman, enabling each to receive roughly sixty-four percent of

   their fees for which the Receiver sought authorization to pay.

          After six additional months of service, the Receiver applied for an award of interim fees

   and costs for attorneys and accountants through May 31, 2013, by his Motion for Entry of an

   Order Authorizing an Interim Partial Payment of Attorney’s Fees and a Full Payment of

   Accountant’s Fees [ECF #91] (“Interim Application”). As with the First Application, the

                                                           -2-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 3 of 10




   amounts sought through the Interim Application were consented to by the FTC and the

   Defendants. The Interim request sought authorization to pay $125,000.00 in fees plus $11,104.89

   in expenses to Berger Singerman, and $24,028.52 to BPB. The Court denied the request and

   expressed concern about the incurring of fees in excess of the previously authorized limit of

   $25,000 [ECF #20] and the prospect that professional fees might unduly diminish funds for the

   provision of consumer redress.

          Subsequent to the Interim Application, the Receiver and his professionals investigated

   prospective defendants, developed claims, and provided substantial support to the FTC in its

   consideration of claims against prospective defendants. The Receiver also: conferred with

   various state attorneys general regarding prospective defendants; consulted with the FTC

   regarding potential claims; dissolved and wound up the Corporate Defendants in accordance with

   the Florida Revised Limited Liability Company Act (the “LLC Act”); evaluated the claims of

   former workers for unpaid wages; and instituted a compensatory claims process for former A+

   Financial workers pursuant to the LLC Act. The Receiver also negotiated and settled claims

   against the Corporate Entities, including claims asserted by the State of Missouri Attorney

   General.    The fees and costs incurred by the Receiver’s attorneys during this period are

   demonstrated, in part, by the fees and costs incurred for the three month period in the report filed

   under seal as Exhibit “A”.

          As demonstrated through Exhibit “A”, the legal fees incurred by the Receiver and his

   professionals in the performance of services during the period since the Interim Application far

   exceed the amount that the Receiver, by this motion, seeks permission to pay accountants and

   attorneys. Currently, the Receiver holds $279,462.72 in reserve. The Receiver has sought leave

   of Court to pay $25,000 to the State of Missouri, $31,889.83, to pay former workers of the
                                                           -3-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 4 of 10




   Corporate Defendants, $19,000.00 to accountants, BPB, $2,000.00 to payroll processor ADP,

   $5,931.51 for the employer’s share of payroll taxes, and $187.50 to Wells Fargo Bank for

   photocopies, for total additional disbursements of $84,008.84, resulting in a net balance of

   $195,453.88.

          By this Motion, the Receiver seeks an Order authorizing payment to Berger Singerman in

   the amount of $195,453.80. That amount incorporates: (i) $46,697.30, the amount sought by the

   First Application, but not authorized; (ii) $136,104.89, the amount sought by the Interim

   Application, but not authorized; and (iii) the $12,651.69 difference between the sum of (i) and

   (ii) and the amount of attorneys’ fees being sought.

          Through this Motion, the Receiver is also seeking authorization to pay BDP the sum of

   $19,000.00 from the total amount of $24,028.52 previously requested, but not authorized for

   payment by the Court, in the Interim Application.

          The amounts sought by the Receiver are uncontested. The FTC asserted in the October

   21, 2015 status conference that the compensation sought by the Receiver is reasonable and that

   his efforts, and efforts of his attorneys and accountants, warrant compensation.

                                            Memorandum Of Law

          Expenses of administration incurred by a receiver, including those of the receiver, its

   counsel and others employed by the receiver, constitute priority expenses for which

   compensation should be paid from the assets of the receivership. “The Receiver is entitled to

   reasonable out-of-pocket expenses for the performance of his duties under the order of

   appointment.” F.T.C. v. SlimAmerica, 97-06072-CIV, 2008 WL 5435892, at *4 (S.D. Fla. 2008)

   (citing S.E.C. v. Elliott, 953 F.2d 1560, 1576-77 (11th Cir. 1992)). The Receiver here seeks an



                                                           -4-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 5 of 10




   award without objection from the Plaintiff or the Defendants further warranting the granting of

   the relief requested.

          The premise of the Stipulated Final Judgment is that a distribution for consumer redress

   will not occur because the Individual Defendants lack sufficient resources and they left

   insufficient assets in the Corporate Defendants to enable them to fund consumer redress. Thus, a

   payment of receivership professional fees, after satisfaction of all creditors through the LLC

   winding up process, will not occur at the expense of consumers or creditors.

          The Receiver, though a timekeeper and billing professional in Berger Singerman, LLP, is

   not seeking payment of his fees as Receiver. Rather, he seeks payment of the fees and costs

   incurred by the professionals who assisted him. When determining the propriety of a fee award,

   the Court should first consider whether the number of hours expended by the Receiver’s

   professionals are reasonable. The fees for professional services for which the Receiver’s

   professionals request compensation were necessary and beneficial to the receivership. The

   variety and complexity of the issues involved and the need to act expeditiously to meet the

   demands of possible litigation required substantial commitment of time and resources.

          The lodestar method governs the process for determining attorneys’ fees. See Norman v.

   Hous. Auth. of City of Montgomery, 836 F.2d 1292 (11th Cir. 1988); Golf Clubs Away, LLC v.

   Hostway Corp., 2012 WL 2912709, at *2 (S.D. Fla. July 13, 2012). The lodestar is calculated by

   determining the reasonable hourly rate and the reasonable number of hours expended, and then

   multiplying those two numbers. “A lodestar figure that is based upon a reasonable number of

   hours spent on a case multiplied by a reasonable hourly rate is itself strongly presumed to be

   reasonable.” RTC v. Hallmark Builders, Inc., 996 F.2d 1144, 1150 (11th Cir. 1993).



                                                           -5-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 6 of 10




          The exhibits submitted in support of the Initial Application and the Interim Application

   reflects the hours, billing rates, and timekeepers for whose services the Receiver seeks

   authorization to pay. The remaining amount sought for legal fees since the Interim Application,

   $12,651.69, involves the same timekeepers. As evidenced in Exhibit “A” hereto, such fees

   expended by the Receiver’s attorneys are reasonable in light of the services rendered and the

   results obtained.

          The fees for professional services that the Receiver requests permission to pay were

   necessary and beneficial to the receivership estate. The variety and complexity of the issues

   involved and the need to act expeditiously to identify, investigate, determine strategies regarding

   potential litigation targets, take discovery with respect to those potential claims, and meet the

   demands of possible litigation required substantial investment of time.

          The amounts charged are at a reasonable hourly rate. A reasonable hourly rate is the

   prevailing market rate in the relevant legal community for similar services by lawyers of

   reasonably comparable skills, experience and reputation.” Loranger v. Stierheim, 10 F.3d 776,

   781 (11th Cir. 1994).

          Generally, “the ‘relevant market’ for purposes of determining the reasonable hourly rate

   for an attorney’s services is ‘the place where the case is filed,’” ACLU v. Barnes, 168 F.3d 423,

   437 (11th Cir. 1999), provided that local attorneys have the skills to handle the specific type of

   matter at issue. See Maceira v. Pagan, 698 F.2d 38, 40 (1st Cir. 1983). The Court “is itself an

   expert on the question and may consider its own knowledge and experience concerning

   reasonable and proper fees and may form an independent judgment either with or without the aid

   of witnesses as to value.” Loranger, 10 F.3d at 781 (quoting Norman, 836 F.2d at 1303).



                                                           -6-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 7 of 10




          The previously filed exhibits in support of the First Application and the Interim

   Application report individual time entries that identify: (a) the Receiver and Berger Singerman

   LLP attorney and support personnel who provided services; (b) the time expended by each

   individual; (c) each individual’s hourly billing rate during the case; and, (d) the amount of fees

   attributable to each individual.

          Attached to, and incorporated herein as Exhibit “A”, is a summary of hours, rates, and

   timekeepers to substantiate the Receiver’s request for permission to pay his attorneys, so that the

   total, when compared with the sum sought from the First Application and Interim Application,

   equals $195,453.80.

          No party has voiced disagreement with the number of hours expended by the Receiver’s

   retained professionals, or the amount sought by this motion, as the amount sought through this

   motion is a fraction of the actual time committed to this action.

          WHEREFORE, the Receiver, respectfully requests that this Court enter an Order in the

   form attached as Exhibit “B” hereto: (a) approving and authorizing a payment of the fees and

   costs incurred by the Receiver’s retained professionals Berkowitz Pollack & Brandt Advisors

   and Accountants, LLP, in the amount of $19,000.00; (b) authorizing a payment of the fees and

   costs incurred by the Receiver’s retained professionals Berger Singerman LLP in the amount of

   $195,453.80; and (c) determining that such fees and costs requested by the Receiver’s retained

   professionals are reasonable, and that the Court provide any and all other relief as the Court

   deems proper.




                                                           -7-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 8 of 10




   Dated: December 14, 2015                                 Respectfully submitted,

                                                            /s/ Andrew M. Hinkes
                                                            Andrew Hinkes (Fla. Bar No. 17848)
                                                            BERGER SINGERMAN LLP
                                                            Attorneys for the Receiver
                                                            350 E. Las Olas Boulevard, Suite 1000
                                                            Fort Lauderdale, FL 33301
                                                            Telephone: (954) 712-5143
                                                            Facsimile: (954) 523-2872
                                                            E-Mail: Ahinkes@bergersingerman.com

        CERTIFICATE OF CONSULTATION PURSUANT TO LOCAL RULE 7.1(A)(3)

               Pursuant to Local Rule 7.1(A)(3), counsel for the Receiver conferred with counsel for the

   Federal Trade Commission and counsel for the Defendants and received authorization to report

   that they do not object to the entry of an Order granting the relief requested by this Motion.

                                       CERTIFICATE OF SERVICE


               I certify that the foregoing Receiver’s Memorandum was served on all counsel of record

   via CM/ECF on December 14, 2015.

                                                                        /s/ Andrew M. Hinkes             .
                                                                        Andrew M. Hinkes


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                                                           -8-

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Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 9 of 10




                                           EXHIBIT “B”
                                           Proposed Order



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 12-CV-14373-DLG


    FEDERAL TRADE COMMISSION,

                  Plaintiff,

             v.

    A+ FINANCIAL CENTER, LLC, a Florida
    limited liability company, also doing business as
    ACCELERATED FINANCIAL CENTERS,
    LLC,

    ACCELERATED ACCOUNTING SERVICES
    LLC, a Florida limited liability company,

    CHRISTOPHER L. MIANO, individually and
    as the managing member of Accelerated
    Accounting Services LLC, and

    DANA M. MIANO, individually and as the
    managing member of A+ Financial Center, LLC,

                  Defendants.


       ORDER GRANTING RECEIVER’S UNCONTESTED MOTION TO AUTHORIZE
              FINAL PAYMENT OF PROFESSIONAL FEES AND COSTS
                TO RECEIVER’S ACCOUNTANTS AND ATTORNEYS

              THIS CAUSE came before the Court on the Receiver’s Uncontested Motion to Authorize

   Final Payment of Professional Fees and Costs to Receiver’s Accountants and Attorneys [ECF #

   ___] (the “Motion”).




   6837405
Case 2:12-cv-14373-DLG Document 227 Entered on FLSD Docket 12/14/2015 Page 10 of 10




             THE COURT, has considered the Motion, the pertinent portions of the record, the

   Receiver’s Final Report and Final Accounting [ECF# ___], and is otherwise fully advised in the

   premises.

             The Court determines that the fees and costs requested in the Motion are reasonable and

   appropriate. Accordingly,

             IT IS HEREBY ORDERED that

             1.     The Receiver’s Motion is GRANTED.

             2.     The Receiver is hereby authorized to pay his attorneys, Berger Singerman, LLP,

   fees and costs in the total sum of $195,453.80.

             3.     The Receiver is hereby authorized to pay his accountants, Berkowitz Pollack

   Brant Advisors and Accountants, LLP, fees and costs in the total sum of $19,000.00.

             DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ____ day of
   December 2015.


                                                        UNITED STATES DISTRICT JUDGE



   cc:       All Counsel of Record




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